                        Case 2:19-mj-05519-VRG Document 1 Filed 06/13/19 Page 1 of 5
AO 442 (REV.   12/55)




                               UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                      §
                                                              § CRIMINAL COMPLAINT
vs.                                                           § CASE NUMBER: DR:19-M       -05519(1)
                                                              §
(1) Jose Hernan Pinto-Roque                                   §




                  I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about 3une 06, 2019 in Maverick county, in the WESTERN DISTRICT

OF TEXAS defendant did, knowingly and willfully enter the United States at a time and place other than as

designated by Immigration Officers, he/she being an alien in the United States in violation of Title          United

States Code, Section(s)       1325(aUl').


                  I further state that I am a(n) Border Patrol Acient and that this complaint is based on the

following facts: "On June 06, 2019, the defendant, Jose Hernan PINTO-Roque, a native and citizen of

Honduras, was arrested near Eagle Pass, Texas. Subsequent investigation revealed that the defendant is an

alien illegally present in the United States        The Defendant last entered the United States illegally from the

Republic of Mexico by crossing the Rio Grande River at a time and place other than as designated by

Immigration Officers, near Eagle Pass, Texas.




Continued on the attached sheet and made a part of hereof:                                           jYes     No




Sworn to before me and subscribed in my presence,
                                                                            S ig
                                                                            Sulliva
                                                                            BPA

06/12/20 19                                                             at DEL RIO, Texas
File Date                                                                  City and State




VICTOR ROBERTO GARCIA                                                                 \JlS<Atc/L
UNITED STATES MAGISTRATE JUDGE                                              Signature o tidicial Officer
           Case 2:19-mj-05519-VRG Document 1 Filed 06/13/19 Page 2 of 5




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

United States of America
                                                     §                 Case Number:
vs.                                                  §                 DR:19-M -05519(1)
                                                     §
(1) Jose   Hernan Pinto-Roque                        §




                               ORDER APPOINTING COUNSEL


      The above named Defendant has testified under oath, or has otherwise satisfied this court,
that he/she is financially unable to obtain counsel and does not wish to waive representation by
counsel.

     Therefore, in the interest of justice, Wade, Reginald Van, is hereby appointed to represent
the defendant in the above-styled and numbered cause.

      This appointment shall remain, in effect until further order of this court.


      It is so ORDERED this 12th day of June, 2019.
                                                                        '




                                                         '   ,.   I-



                                                                       I
                                                 VICTOR           'O
                                                            RTO GARCIA
                                                 UNITED STATES MAGISTRATE JUDGE
         Case 2:19-mj-05519-VRG Document 1 Filed 06/13/19 Page 3 of 5


                                                                                 FILED
                          UNITED STATES DISTRICT COURT                       JUN 1 3 2019




UNITED STATES OF AMERICA
                           WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

                                                         §
                                                                        CLERK,
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                                                         §
                                                         §
v.                                                       §   Cise No.: DR:19-M-05519
                                                             4.
                                                         §
                                                         §
JOSE HERNAN PINTO-ROQUE                                  §




                      MOTION TO DISMISS THE COMPLAINT
                   AND ARREST WARRANT WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now the United States of America, by and through the undersigned Special

Assistant United States Attorney for the Western District of Texas, and pursuant to Rule 48 of

the Federal Rules of Criminal Procedure hereby files this Motion to Dismiss the Complaint, and

Arrest Warrant, Without Prejudice against Defendant JOSE HERNAN PINTO-ROQUE filed in

the above-styled case. In support of its motion, the Government would respectfully show this

Court the following:

       The defendant is part of a family unit and does not fit the Agency's guidelines for

prosecution.

       WHEREFORE, PREMISES CONSIDERED, the Government respectfully prays this

Court dismiss without prejudice the Complaint and Arrest Warrant in DR: 1 9-M-055 19 against

Defendant JOSE HERNAN PINTO-ROQUE.
           Case 2:19-mj-05519-VRG Document 1 Filed 06/13/19 Page 4 of 5




                                                  Respectfully submitted,

                                                  JOHN F. BASH
                                                  United States Attorney
                                                  111 E Broadway STE 300
                                                  Del Rio, TX 59885
                                                  (830) 703-2025; Fax: (830) 703-2034



                                                  By:
                                                        David V. Sorola
                                                        Special Assistant U.S. Attorney
                                                        TX State Bar No. 00797757




                                       Certificate of Service

       I  have caused a copy of the foregoing Motion to Dismiss the Complaint and Arrest
Warrant (without prejudice) to be served on the 12th day of June, 2019, upon Defendant through
his/her attorney of record, Reginald Van Wade.



                                                  David V. Sorola
               Case 2:19-mj-05519-VRG Document 1 Filed 06/13/19 Page 5 of 5


                                                                                  FILED
                                UNITED STATES DISTRICT COURT                     JUN    1 3   2013
                                 WESTERN DISTRICT OF TEXAS
                                                                            CLERK U.S   DTRCJ
                                      DEL RIO DIVISION                     WESTERN
                                                                                                CLERK
                                                                                         ICT OF TEXAS
                                                                           BY
   UNITED STATES OF AMERICA                                     §                             DEPUTY
                                                                §
                                                                §
   v.                                                           §      Cause No.: DR:19-M-05519
                                                                §
                                                                §
   JOSE HERNAN PINTO-ROQUE                                      §


                     ORDER DISMISSING COMPLAINT AND ARREST WARRANT
             On this day came on to be heard the motion of the United States to dismiss the Complaint

   and Arrest Warrant against JOSE HERNAN PINTO-ROQUE without prejudice in the above

   styled case in the interest of justice. Having considered same, the Government's motion is

   hereby GRANTED.

             SIGNED and ENTERED this          \)     dayof




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